 Case 2:05-cr-00155-SJO Document 87 Filed 10/31/15 Page 1 of 3 Page ID #:143



 1 HILLARY A. HAMILTON (SBN 218233)
   hillary.hamilton@probonolaw.com
 2 300 South Grand Avenue
   Los Angeles, California 90071-3144
 3 Telephone: (213) 687-5000
   Facsimile: (213) 687-5600                                   October 31, 2015.
 4
   Attorney for Defendant TONY RIVERA
 5                                                                  VPC

 6
 7
 8
                    IN THE UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10
                                 WESTERN DIVISION
11
                                              )
12 UNITED STATES OF AMERICA,                  ) CASE NO.: 2:05-CR-155-SJO
                                              )
13                                            )
                                              )
14                          Plaintiff,        ) ORDER
                                              )
15             v.                             )
                                              )
16                                            )
                                              )
17 TONY RIVERA, AKA, TONY                     )
   GARCIA, ANTHONY RIVERA, III,               )
18                                            )
                                              )
19                                            )
                            Defendant.        )
20                                            )
21
22
23
24
25   CC: PROBATION OFFICE
26
27
28
     [PROPOSED] ORDER GRANTING REQUEST TO DISCLOSE PRE-SENTENCE INVESTIGATION REPORT &
           STATEMENT OF REASONS TO CLEMENCY PROJECT 2014 COUNSEL No. 2:05-CR-155-SJO
 Case 2:05-cr-00155-SJO Document 87 Filed 10/31/15 Page 2 of 3 Page ID #:144



 1      [PROPOSED] ORDER GRANTING REQUEST TO DISCLOSE PRE-
 2 SENTENCE INVESTIGATION REPORT AND STATEMENT OF REASONS
 3                    TO CLEMENCY PROJECT 2014 COUNSEL
 4        In consideration of the foregoing Request to Disclose Pre-Sentence
 5 Investigation Report and Statement of Reasons to Clemency Project 2014 Counsel,
 6 there being good cause shown, it is this 31st day of October, 2015 hereby
 7        ORDERED that the Request to Disclose Pre-Sentence Investigation Report
 8 and Statement of Reasons to Clemency Project 2014 Counsel is GRANTED; and it is
 9 further
10        ORDERED that a copy of the Pre-Sentence Investigation Report and the
11 Statement of Reasons, if any, shall be provided to the Defendant’s Clemency Project
12 2014 counsel; and it is further
13        ORDERED that at the conclusion of the representation by Clemency Project
14 2014 counsel, such counsel shall return all copies of the Pre-Sentence Investigation
15 Report and the Statement of Reasons, if any, to the Bureau of Prisons or shall destroy
16 all copies.
17
18 Dated: October 31, 2015
                                                        Honorable S. James Otero
19                                                        United States Judge
20
21
22
23
24
25
26
27
28                                            1
       [PROPOSED] ORDER GRANTING REQUEST TO DISCLOSE PRE-SENTENCE INVESTIGATION REPORT &
             STATEMENT OF REASONS TO CLEMENCY PROJECT 2014 COUNSEL No. 2:05-CR-155-SJO
 Case 2:05-cr-00155-SJO Document 87 Filed 10/31/15 Page 3 of 3 Page ID #:145



 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on October 28, 2015, I electronically filed the foregoing
 3 with the Clerk of the Court using the CM/ECF system, which will then send a
 4 notification of such filing (NEF) to the following:
 5 Mark Anthony Young                             Dominic Cantalupo
   AUSA - Office of US Attorney                   Dominic Cantalupo Law Offices
 6 Criminal Division - US Courthouse              100 Wilshire Boulevard Suite 940
   312 North Spring Street 12th Floor             Santa Monica, CA 90401-1113
 7 Los Angeles, CA 90012-4700                     310-397-2637
   213-894-2434                                   Fax: 310-388-6016
 8 Fax: 213-894-0141                              Email: dcantalupo@att.net
   Email: USACAC.Criminal@usdoj.gov               LEAD ATTORNEY
 9 LEAD ATTORNEY                                  ATTORNEY TO BE NOTICED
   ATTORNEY TO BE NOTICED                         Designation: CJA Appointment
10
11
12 Dated: October 28, 2015                         /s/   Hillary A. Hamilton
13                                                Hillary A. Hamilton (SBN 218233)
                                                  hillary.hamilton@probonolaw.com
14                                                300 South Grand Avenue
                                                  Los Angeles, California 90071-3144
15                                                Telephone: (213) 687-5000
                                                  Facsimile: (213) 687-5600
16
17                                                Clemency Counsel for Defendant Tony
                                                  Rivera
18
19
20
21
22
23
24
25
26
27
28                                            2
      [PROPOSED] ORDER GRANTING REQUEST TO DISCLOSE PRE-SENTENCE INVESTIGATION REPORT &
            STATEMENT OF REASONS TO CLEMENCY PROJECT 2014 COUNSEL No. 2:05-CR-155-SJO
